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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA COALITION FOR                      *
THE PEOPLES’ AGENDA, INC.,                 *
as an organization, et al.,                *
                                           *
              Plaintiffs,                  *
                                           *
       v.                                  *               1:18-CV-04727-ELR
                                           *
BRAD RAFFENSPERGER, in his                 *
official capacity as Secretary of State    *
for the State of Georgia,                  *
                                           *
              Defendant.                   *
                                           *
                                      _________

                                         ORDER
                                         _________

       Presently before the Court is the Parties’ “Joint Motion for Extension of Time

to Conduct Discovery.” [Doc. 111]. By their instant motion, the Parties request an

extension of all remaining deadlines in this case due to an unexpected delay in

conducting “the 30(b)(6) deposition of the Secretary of State’s office[.]”1 [Id. at 2].

       Upon consideration, the Court GRANTS IN PART AND DENIES IN

PART the Parties’ present motion. [Doc. 111]. While the Court will not adopt the



1
  The aforementioned deposition was scheduled to take place the week of April 12, 2021, but
“[d]ue to a medical emergency,” the deposition did not occur until April 30, 2021. [Docs. 107 at
2; 111 at 2].
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Parties’ proposed timeline, the Court hereby modifies the deadlines in this matter as

follows:

  Plaintiffs’ Expert Disclosures
                                                          May 28, 2021
  (reports)

  Defendant’s Expert Disclosures
                                                          June 28, 2021
  (reports)
  Plaintiffs’ Rebuttal Expert
                                                          July 12, 2021
  Disclosures (reports)
  Close of Discovery
                                                          August 6, 2021

  Dispositive Motions (filed)
                                                          September 8, 2021

  Dispositive Motions (response)
                                                          October 6, 2021
  Dispositive Motions (reply)
                                                          October 20, 2021

  Last Day for Daubert Motions
                                                          On last day to submit
                                                          Consolidated Pretrial
                                                          Order
  Last Day to Submit a
                                                          Thirty (30) days after entry
  Consolidated Pretrial Order                             of the Court’s ruling on
                                                          summary judgment


  Trial readiness                                         Winter 2022

      Finally, the Parties state that they “do not anticipate that further extensions

will be required” in this matter. [Id. at 2]. In light of this representation by the

Parties—and moreover, considering the multiple extensions the Parties have


                                         2
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received since the entry of the original Scheduling Order—the undersigned is not

inclined to grant any further extensions in this matter. [See Docs. 36, 49, 53, 55, 58,

68, 76, 78, 89, 96, 103, 108].

      SO ORDERED, this 13th day of May, 2021.



                                              ______________________
                                              Eleanor L. Ross
                                              United States District Judge
                                              Northern District of Georgia




                                          3
